    Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 1 of 41




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


DWAYNE WILLIAMS,                        CIVIL ACTION NO.

                 Plaintiff              SECTION

       v.                               JUDGE

JASON WILLIAMS, IN HIS OFFICIAL         MAGISTRATE
CAPACITY, and ABC INSURANCE
COMPANIES 1-10,
                                        JURY TRIAL DEMAND
                  Defendants.


                                COMPLAINT
    Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 2 of 41




                          TABLE OF CONTENTS



INTRODUCTION                                                             3

JURISDICTION AND VENUE                                                   5

PARTIES                                                                  6

FACTUAL ALLEGATIONS                                                      6

CAUSES OF ACTION                                                        37

 FIRST CAUSE OF ACTION – 42 U.S.C. § 1983                               37

 SECOND CAUSE OF ACTION — LOUISIANA REVISED STATUTE § 22:1269           39

PRAYER FOR RELIEF                                                       40




                                    2
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 3 of 41




                                   INTRODUCTION

1.     Dwayne Williams was wrongfully convicted and served over twenty-six (26) years

     in prison for a crime he did not commit, as a result of repeated violations of his

     constitutional rights by the Orleans Parish District Attorney’s Office (“OPDA”).

     Specifically, OPDA suppressed information that demonstrated Dwayne Williams’s

     innocence, in violation of OPDA’s obligations under Brady v. Maryland and its

     progeny.

2.      Dwayne Williams was arrested on January 5, 1995 in connection with the March

     22, 1994 murder of Laston Clark and attempted murder of Nathaniel Morgan, which

     resulted from a shooting that occurred on or around the 7700 block of Hickory Street

     in Uptown New Orleans. OPDA ultimately prosecuted Dwayne Williams for the first-

     degree murder of Laston Clark, while suppressing information: (1) showing that

     Dwayne Williams was not involved in the shooting, and (2) which undermined the

     prosecution’s star witness.

3.      Specifically, OPDA suppressed information establishing and/or confirming that:

     (1) an eyewitness told the New Orleans Police Department (“NOPD”) that he

     witnessed masked individuals, in a green Monte Carlo, commit the murder before

     fleeing the scene on foot – contrary to the prosecution’s star witness’s testimony that

     the murderers arrived in a brown station wagon and fled the scene in the same

     vehicle; (2) NOPD located the green Monte Carlo and recovered twenty-one (21)

     latent fingerprints from within the vehicle – all of which excluded Dwayne Williams

     as a potential source; (3) NOPD recovered one latent print from a gun found beneath

     the residence adjoining Dwayne Williams’s mother’s residence that excluded



                                          3
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 4 of 41




     Dwayne Williams as a potential source – thereby contradicting OPDA’s theory that

     Dwayne Williams had left weapons beneath the residence after the murder; (4) an

     eyewitness told NOPD he saw one of the individuals involved in the shooting fleeing

     the scene on foot, that the individual was not from the area, and that he could identify

     the individual if given a chance – again contradicting the prosecution’s star witness’

     testimony that the murderers left in a brown station wagon, exculpating Dwayne

     Williams (who was from the area), and undermining the thoroughness of NOPD’s

     investigation for failing to provide a photo lineup to said witness; and (5) an

     additional eyewitness told NOPD he saw one of the individuals involved in the

     shooting fleeing the scene on foot and that he could identify the individual if given a

     chance – again contradicting the prosecution’s star witness’ testimony that the

     murderers left in a brown station wagon and undermining the thoroughness of

     NOPD’s investigation for failing to provide a photo lineup to said witness.

4.      This favorable evidence was, in all respects, material and favorable to Dwayne

     Williams’s defense. The evidence – if disclosed – would have completely undermined

     the case against Dwayne Williams. Had the ADA’s fulfilled their constitutional and

     ethical obligations, Dwayne Williams would never have been wrongfully convicted

     and unlawfully held for over twenty-six (26) years.

5.      After over twenty-six (26) years, Dwayne Williams was vindicated. OPDA’s

     Civil Rights Division joined in a “Joint Motion to Vacate Conviction” which was

     “based on significant information discovered since trial that was not known to the

     jury which convicted Mr. Williams and which cast doubt on his guilt and on the

     integrity of the process by which he was convicted.” OPDA further agreed that



                                          4
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 5 of 41




      “favorable information…had been in the possession of the State during their

      trial…[but] was not turned over to the defense.” The District Court ultimately granted

      the motion and vacated Dwayne Williams’s conviction and OPDA noticed its intent

      to nolle prosequi the prosecution on September 1, 2022.

6.       As a direct and proximate result of Defendants’ conduct, Dwayne Williams has

      suffered injuries and damages, including: pain and suffering, severe mental anguish,

      emotional distress, lost income, physical illness, inadequate medical care,

      humiliation, injury to reputation, permanent psychological damage, and restriction of

      all forms of personal freedom including but not limited to diet, sleep, personal

      contact, educational opportunity, vocational opportunity, personal fulfillment, family

      relations, travel, enjoyment, and expression. Many of these injuries and harms

      continue even after Dwayne Williams’s release from prison.

7.       Dwayne Williams now seeks to hold accountable those responsible for depriving

      him of his freedom for more than one-half of his life.

                           JURISDICTION AND VENUE

8.       This Court has subject matter jurisdiction over Dwayne Williams’s 42 U.S.C. §

      1983 claim pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343.

9.       This Court has subject matter jurisdiction over Dwayne Williams’s state-law

      claim pursuant to 28 U.S.C. § 1367.

10.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (b) (2).




                                            5
  Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 6 of 41




                                        PARTIES

   11.      Plaintiff Dwayne Williams is a 51-year-old Texas resident who lives in

         Splendora, Texas.

   12.      Defendant Jason Williams, whom Dwayne Williams sues in his official capacity

         only, is the Orleans Parish District Attorney and head of the Orleans Parish District

         Attorney’s Office (“OPDA”), a local government agency located in the Parish of

         Orleans, State of Louisiana.

   13.      Defendants ABC Insurance Companies 1-10 are as-yet unknown insurance

         companies who may have issued and currently have in effect one or more policies of

         insurance covering Defendant Jason Williams and OPDA and/or the actions

         complained of herein.

                                 FACTUAL ALLEGATIONS

The Murder of Laston Clark

   14.      On the evening of March 22, 1994, Laston Clark, Nathaniel Morgan, and Alton

         Morgan were visiting Greta Dixon and her husband, Jon Dixon at their home located

         at 7728 Hickory Street in Uptown, New Orleans. At approximately 11:15 p.m.,

         Laston Clark and Nathaniel Morgan were just outside the Dixon residence, working

         under the hood of their car when two unknown individuals approached Mr. Clark and

         Mr. Morgan and began shooting at them. Mr. Clark ran down the street, while Mr.

         Morgan took cover beneath the car. Ultimately, Mr. Morgan escaped the shooting

         uninjured. Mr. Clark, however, was found half a block away from where the shooting

         began, lying on the curb, dead from multiple gunshot wounds.




                                             6
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 7 of 41




15.      After escaping, Mr. Morgan ran into the Dixon residence, told Greta Dixon to call

      the police, and then drove himself and his cousin, Alton Morgan, to a store on South

      Claiborne – fearful that his assailants would return.

16.      Following the reported shooting, Detective Louis Berard of the NOPD Homicide

      Division arrived to the scene accompanied by fellow NOPD Detectives Luis Suarez,

      Michael Fejka, Ross Mocklin, David Gaines, Eric Hessler, and Patrick Jones. The

      NOPD Detectives initiated their scene investigation and canvassed the area for

      possible witnesses – whose interviews are summarized in the NOPD’s supplemental

      police report.

17.      Nathaniel Morgan informed the NOPD Detective that, while he and Laston Clark

      were working under the hood of the car, two unknown masked individuals – one

      wielding a shotgun, the other with dual pistols – ambushed Morgan and Clark and

      began shooting at them. Morgan further relayed that Clark ran off while being chased

      by the individual with the shotgun. Meanwhile, Morgan crawled underneath the car

      while the individual with the two pistols continued shooting at him, culminating in

      the shooter pointing one of the pistols at Morgan’s head and pulling the trigger – but

      the gun did not fire. Afterwards, the individual fled the scene on foot.

18.      Another witness, Ken Templin, informed the NOPD Detective that he was inside

      his residence when he heard several gunshots. He then walked to his front door and

      observed two Black males running in a lakebound direction on Burdette Street before

      turning onto Spruce Street and entering into a driveway beside a split-double

      residence at 7725/27 Spruce Street. The two Black males then reemerged from the




                                            7
      Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 8 of 41




            alleyway and ran down Spruce Street in a downtown direction before turning onto

            Adams Street in a river bound direction.

      19.      Detectives relocated to the residence at 7725/7727 Spruce Street, where they

            discovered (1) a .30 caliber rifle, (2) three handguns, (3) a red sweatshirt, and (4) a

            blue jacket beneath the house on the 7725 side. Detectives submitted these items to

            the Crime Lab for forensic testing.

      20.      Ballistics testing eventually connected at least two of the recovered pistols to the

            shooting.

      21.      However, detectives were unable to identify any suspects and the investigation

            remained largely dormant for the next seven months. As a representative from OPDA

            would later acknowledge, “there were no leads as to the identity of the individuals in

            this case for many months afterwards. And it was not until a just turned 17-year old

            child was concerned about a situation he, himself, had with the police until the police

            had any names in connection with this homicide.”

Alfred Moore and his False Statement to Police

      22.      In November of 1994, an NOPD officer encountered seventeen-year-old Alfred

            Moore, who was driving a stolen car. The officer eventually brought Moore to

            NOPD’s Juvenile Division, where another officer told Moore that, to be released to

            his foster parents, Moore would have to “give [the NOPD officer] some information.”

            In response, Moore gave NOPD detectives a statement about Laston Clark’s murder,

            claiming that three individuals with whom he was acquainted – Dwayne Williams,

            Danielle Rideau, and Donille Ross – were responsible for the murder.




                                                  8
         Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 9 of 41




         23.      According to Alfred Moore’s statement, on the night of the murder, Moore was

               selling drugs near the scene of the shooting, when he was approached by Dwayne

               Williams and Daniel Rideau, who told Moore to “get off the corner” and that they

               (Williams and Rideau) would “be back.” Moore further stated that Rideau and

               Williams, subsequently returned in an older model “four door, light brown station

               wagon” with a “white stripe on the side” being driven by and Donille Ross. The three

               waited in the brown station wagon until Laston Clark and Alton Morgan left Greta

               Dixon’s house. Ross then drove the vehicle towards Clark and Morgan, at which time

               Williams and Rideau exited the vehicle and began shooting at Cark and Morgan.

               According to Moore, while Dwayne Williams and Daniel Rideau were shooting at

               Clark and Morgan, Donille Ross followed behind them in the brown station wagon.

               After the shooting, Dwayne Williams and Daniel Rideau got back into the brown

               station wagon and fled the scene.

         24.      Det. Berard subsequently provided Alfred Moore with photo lineups of Dwayne

               Williams, Daniel Rideau, and Donille Ross. Moore positively identified all three

               individuals.

         25.      The following day, relying on the information provided by Moore, Det. Berard

               obtained arrest warrants for Dwayne Williams, Daniel Rideau, and Donille Ross.

         26.      Dwayne Williams and Daniel Rideau were eventually arrested and charged with

               first-degree murder for the shooting death of Laston Clark.1




1
    Before he could be arrested, Donille Ross was murdered on December 21, 1994.
                                                    9
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 10 of 41




 Trial and OPDA’s Reliance on Alfred Moore’s Testimony

 27.      Dwayne Williams pled not guilty to the murder and proceeded to trial on October

       11, 1995. The trial lasted two days, and on October 12, 1995, the jury found Dwayne

       Williams guilty of first-degree murder and subsequently recommended a sentence of

       life imprisonment at hard labor, without the benefit of parole, probation, or

       suspension of sentence.

 28.      The prosecution’s entire case revolved around the purported eyewitness testimony

       of Alfred Moore – the only witness who ever identified Dwayne Williams as being

       involved in the murder.

 29.      As a representative of OPDA subsequently acknowledged in a “Joint Agreement

       and Motion to Vacate Conviction”, filed in Orleans Parish Criminal District Court on

       August 31, 2022, the prosecution’s “case was primarily the testimony of Alfred

       Moore who claimed he had been out on the block in the vicinity of Greta Dixon’s

       house selling drugs all day and that he had seen Rideau and [Dwayne] Williams

       before the crime, when they had warned him to get out of the way, and that he later

       saw them pull up in a brown station wagon, shoot Clark and try to shoot Morgan, and

       then drive off.”

 30.      During closing arguments at trial, ADA Lisa Lavie likewise acknowledged that

       “the only real evidence that points to [Dwayne Williams and Daniel Rideau] is Alfred

       Moore,” urging the jury that “if you believe Alfred Moore, then that’s all you need”

       and that “if you believe [Alfred Moore] then you can convict.” Or, as she succinctly

       put it during her final remarks: “he [Alfred Moore] is our case.”




                                           10
     Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 11 of 41




      31.      More recently, a representative from OPDA acknowledged: “the case against

            them was entirely an eyewitness identification.”

      32.      Conversely, counsel for Dwayne Williams sought to undermine Moore’s

            testimony by highlighting inconsistencies and contradictions existing between his

            testimony and the testimonies of other witnesses and other evidence.

      33.      In addition to Moore’s identification, the only other evidence used to associate –

            at least circumstantially – Dwayne Williams with the murder, was the fact that NOPD

            recovered guns used in the murder from beneath the house adjoining Dwayne

            Williams’s mother’s house. During closing argument, ADA Egan argued “that’s

            something you just can’t (sic) past is that guns were found at Dwayne Williams’s

            house. That’s something you just can’t get past.” And during her rebuttal argument,

            ADA Lavie argued “Dwayne Williams put the gun where he keeps the guns, where

            we know the guns have been kept…He put the gun by his house.”

      34.      Subsequent post-conviction investigation revealed that OPDA had suppressed

            critical pieces of favorable evidence that exculpated Dwayne Williams and

            undermined both Alfred Moore’s credibility and Dwayne Williams’s connection to

            the guns found beneath his mother’s house.

Dwayne Williams’s Requests for Discovery and OPDA’s Brady Obligations

      35.      Prior to his trial, Dwayne Williams’s counsel filed a motion for discovery,

            requesting much, if not all, of the information OPDA ultimately withheld. However,

            even without such requests, OPDA remained constitutionally obligated to disclose

            such information to Dwayne Williams.




                                                11
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 12 of 41




 36.      OPDA’s obligation to disclose such information to Dwayne Williams has been

       detailed in a series of decisions by the United States Supreme Court, beginning with

       Brady v. Maryland, 373 U.S. 83 (1963), in which the Court held that, under the

       United States Constitution, the prosecution in a criminal case is required to disclose to

       the defendant any information that is favorable to the defendant where such

       information is material to guilt or innocence. (This requirement will hereinafter be

       referred to as OPDA’s “Brady obligations”).

 37.      Such favorable information includes (a) information that the defendant was not

       guilty of the crime charged; (b) information that another person, and not the

       defendant, committed the crime charged; (c) information that could be used to

       impeach the reliability, credibility, or (in any other respect) accuracy of a prosecution

       witness’s testimony; (d) information that is in the possession of not only the

       prosecution but also the police or other law enforcement agencies that participated in

       the investigation or prosecution of the defendant; (e) favorable information –

       including, but not limited to, information of the types described in (a) through (d)

       above – that law enforcement authorities possess but is not documented.

 38.      These requirements are fundamental aspects of our country’s criminal justice

       system that all prosecutors are required and expected to be familiar with and follow.

       They have been promulgated and reiterated by the United States Supreme Court on

       several occasions since its decision in Brady, including in Giglio v. United States, 405

       U.S. 150 (1972), United States v. Agurs, 427 U.S. 97 (1976); and in Kyles v. Whitley,

       514 U.S. 419 (1995).




                                            12
     Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 13 of 41




Dwayne Williams’s Discovery of Withheld Brady Materials

      39.       Following the affirmance of his conviction on direct appeal, Dwayne Williams

            continued to challenge the validity of his conviction through post-conviction relief.

      40.       Dwayne Williams submitted a public records request for OPDA’s file. Within the

            materials provided in response to the request were multiple supplemental police

            reports, detailing numerous pieces of information that were known to OPDA at the

            time of Dwayne Williams’s trial and which exculpated Dwayne Williams or

            impeached Alfred Moore, or both. However, neither the reports, nor the information

            contained therein were provided to Dwayne Williams, or to his attorney at the time of

            trial.

      41.       During a recent hearing in the Orleans Parish Criminal District Court, on

            September 1, 2022, a representative from OPDA acknowledged that the OPDA file

            contained “significant information that tended to either point to alternative

            perpetrators or exculpate either Mr. Rideau or Williams, or both, that had not been

            turned over to the Defense.”

      42.       This previously withheld information – along with newly discovered information

            – showed that Dwayne Williams was, and is, innocent of the murder for which he was

            wrongfully convicted.

      Eyewitness Statement Regarding Masked Individuals in a Green Monte Carlo

      43.       Within the suppressed police reports was information detailing an eyewitness’s

            statement to NOPD that (1) a green Monte Carlo – not a brown station wagon – was

            the vehicle involved in the murder of Laston Clark, and (2) after the shooting, the

            perpetrators fled the scene on foot – they did not drive away.



                                                 13
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 14 of 41




 44.      More specifically, the suppressed report contained information that, on the day

       after the shooting, a confidential informant (“CI”) contacted a detective from NOPD

       and reported that, approximately thirty minutes before the shooting, the CI observed

       two Black males wearing masks and waiting in a green Chevrolet Monte Carlo near

       the Dixon residence. The masked individuals repeatedly warned passers-by in the

       area to “stay off the corner.” The CI further stated he witnessed the masked

       individuals exit the vehicle and chase Mr. Clark and Mr. Morgan while shooting at

       them. The CI further stated that the masked individuals did not return to the green

       Monte Carlo but fled the scene on foot. The CI further stated there were shotgun

       shells seen lying on the seat of the vehicle for at least one to two days after the

       shooting occurred.

 45.      Detectives eventually impounded the green Chevrolet Monte Carlo – which had

       previously been reported stolen – and recovered twenty-one (21) latent fingerprints

       from items found inside the vehicle.

 46.      As detailed above, OPDA was obligated to disclose any information that would

       be favorable or exculpatory in any manner, pursuant to their Brady obligations; and to

       disclose any evidence that would be considered impeachment evidence.

 47.      At no time prior to, or during trial did OPDA disclose to Dwayne Williams, his

       counsel, or to the jury information regarding the CI’s statement, or the investigation

       regarding the green Monte Carlo.

 48.      During a post-conviction evidentiary hearing, on June 30, 2000, a representative

       from OPDA stipulated that the supplemental reports, which contained information




                                              14
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 15 of 41




       regarding the CI’s statement and the green Monte Carlo, were not turned over to the

       Defense.

 49.      In a “Joint Agreement and Motion to Vacate Conviction”, filed in Orleans Parish

       Criminal District Court on August 31, 2022, a representative from OPDA

       acknowledged that information concerning the CI’s statement “was evidence that the

       perpetrators did not arrive in a brown station wagon and get back in the same vehicle

       and leave, as testified to by Alfred Moore.”

 50.      The statement by an eyewitness to detectives that he saw the perpetrators in a

       green Monte Carlo – not in a brown station wagon – and that the perpetrators fled the

       scene of the shooting on foot – not via the brown station wagon – constituted

       exculpatory and otherwise favorable information that was material to the defense. It

       also constituted evidence that would have impeached the testimony of Alfred Moore.

       OPDA was obligated to disclose this information to Dwayne Williams and OPDA’s

       failure to do so undermines confidence in the jury’s verdict.

 Exculpatory Latent Prints from Items in the Green Monte Carlos

 51.      Following the CI’s report, Det. Berard requested that the NOPD Crime Lab Unit

       impound the green Monte Carlo and process it for evidence. Upon processing the

       vehicle, crime lab technicians collected fourteen aluminum soft drink cans and

       several pieces of paper from within the Monte Carlo. These items yielded at least

       twenty-one (21) latent prints of value. NOPD’s crime lab eventually compared these

       twenty-one (21) latent prints with Dwayne William’s fingerprints.

 52.      Ultimately, the comparisons excluded Dwayne Williams as a possible source for

       any of the twenty-one (21) fingerprints recovered from within the green Monte Carlo.



                                           15
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 16 of 41




       On March 17, 1995, NOPD Officer McKenzie reported the results of the latent print

       comparisons, which were eventually included in a supplemental police report.

 53.      As detailed above, OPDA was obligated to disclose any information that would

       be favorable or exculpatory in any manner, pursuant to their Brady obligations; and to

       disclose any evidence that would be considered impeachment evidence.

 54.      In a “Joint Agreement and Motion to Vacate Conviction”, filed in Orleans Parish

       Criminal District Court on August 31, 2022, a representative of OPDA acknowledged

       that “[t]he print exclusions are favorable and should have been disclosed to defense

       counsel.”

 55.      At no time prior to, or during trial did OPDA disclose to Dwayne Williams, his

       counsel, or to the jury information regarding the exculpatory results of the fingerprint

       analyses conducted on items taken from inside the vehicle allegedly occupied by the

       individuals who murdered Laston Clark.

 56.      During a post-conviction evidentiary hearing, on June 30, 2000, a representative

       from OPDA stipulated that the supplemental reports, which included the results of

       these fingerprint analyses, were not turned over to the Defense.

 57.      That twenty-one (21) fingerprints were recovered from inside the same vehicle

       allegedly occupied by the perpetrators prior to the murder and that fingerprint

       comparisons excluded Dwayne Williams as a potential source of the prints,

       constituted exculpatory and otherwise favorable information that was material to the

       defense. It also constituted evidence that would have impeached the testimony of

       Alfred Moore. OPDA was obligated to disclose this information to Dwayne Williams

       and OPDA’s failure to do so undermines confidence in the jury’s verdict.



                                           16
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 17 of 41




 Exculpatory Latent Prints from a Gun Recovered from 7725/27 Spruce St.

 58.      Additionally, the supplemental reports contained information regarding

       fingerprint analyses conducted on a latent print recovered from one of the pistols

       found underneath 7725 Spruce Street.

 59.      As detailed above, during NOPD’s search of the split residence at 7725/27 Spruce

       Street, detectives recovered three pistols from beneath residence. The pistols were

       submitted for forensic processing and one of the pistols yielded one (1) latent

       fingerprint of value. NOPD’s crime lab eventually compared the latent fingerprint

       from the gun to Dwayne Williams’s fingerprints.

 60.      The comparison excluded Dwayne Williams as a possible source for the

       fingerprint. On March 17, 1995, NOPD Officer McKenzie reported the results of the

       latent print comparisons, which were eventually included in a supplemental police

       report.

 61.       As detailed above, OPDA was obligated to disclose any information that would

       be favorable or exculpatory in any manner, pursuant to their Brady obligations; and to

       disclose any evidence that would be considered impeachment evidence.

 62.      In a “Joint Agreement and Motion to Vacate Conviction”, filed in Orleans Parish

       Criminal District Court on August 31, 2022, a representative of OPDA acknowledged

       that “[t]he print exclusions are favorable and should have been disclosed to defense

       counsel.”

 63.      At no time prior to, or during trial did OPDA disclose to Dwayne Williams, his

       counsel, or to the jury information regarding the exculpatory results of the fingerprint

       analyses conducted on a pistol found underneath 7725/27 Spruce Street.



                                           17
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 18 of 41




 64.      During a post-conviction evidentiary hearing, on June 30, 2000, a representative

       from OPDA stipulated that the supplemental reports, which included the results of

       these fingerprint analyses, were not turned over to the Defense.

 65.      That Dwayne Williams was excluded as a possible source for a fingerprint found

       on one of the guns recovered from beneath 7725/27 Spruce Street, constituted

       exculpatory and otherwise favorable information that was material to the defense. It

       also constituted evidence that would have impeached the testimony of Alfred Moore.

       OPDA was obligated to disclose this information to Dwayne Williams and OPDA’s

       failure to do so undermines confidence in the jury’s verdict.

 Eyewitness Statement of Steven Suter

 66.      Additionally, the supplemental reports contained information about a statement

       made to NOPD by Steven Suter, an eyewitness to events immediately following the

       shooting. The details of Suter’s statement directly contradict Alfred Moore’s

       statement and trial testimony.

 67.      Steven Suter informed the NOPD detective that he was inside his residence with

       his windows open when he heard several gunshots of what sounded like different

       types of guns. After hearing the shots, Suter relocated to his front porch, where he

       observed a Black male holding a shotgun and jogging down the street in a downtown

       direction. Suter further relayed that he got a good look at the individual’s face, and

       that the individual was not from the neighborhood. Suter further advised that, given

       the opportunity, he would be able to identify the individual.




                                            18
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 19 of 41




 68.      As detailed above, OPDA was obligated to disclose any information that would

       be favorable or exculpatory in any manner, pursuant to their Brady obligations; and to

       disclose any evidence that would be considered impeachment evidence.

 69.      In a “Joint Agreement and Motion to Vacate Conviction”, filed in Orleans Parish

       Criminal District Court on August 31, 2022, a representative of OPDA acknowledged

       that: (1) information “[t]hat one of the perpetrators was fleeing on foot contradicts

       Alfred Moore’s testimony that they got back into a brown station wagon and fled the

       scene” and (2) that Suter said he could identify the individual but was never given the

       opportunity “impeaches the thoroughness of the State’s investigation.”

 70.      Additionally, the fact that Suter stated the individual was not from the

       neighborhood exculpated Dwayne Williams, who was from the neighborhood.

 71.      At no time prior to, or during trial did OPDA disclose to Dwayne Williams, his

       counsel, or to the jury information regarding Steven Suter’s statement.

 72.      During a post-conviction evidentiary hearing, on June 30, 2000, a representative

       from OPDA stipulated that the supplemental reports, which included information on

       Suter’s statement, were not turned over to the Defense.

 73.      This eyewitness’s statement to detectives that he saw one of the perpetrators flee

       the scene of the shooting on foot – not in a brown station wagon –, and that the

       individual was not from the neighborhood, constituted exculpatory and otherwise

       favorable information that was material to the defense. It also constituted evidence

       that would have impeached the testimony of Alfred Moore. Additionally, the fact

       that NOPD never provided Suter with an opportunity to identify the shooter, despite

       his willingness to do so, would have impeached the thoroughness of NOPD’s



                                           19
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 20 of 41




       investigation. OPDA was obligated to disclose this information to Dwayne Williams

       and OPDA’s failure to do so undermines confidence in the jury’s verdict.

 Eyewitness Statement of Brant Johnson

 74.      Within the suppressed supplemental report was information pertaining to a

       statement made to detectives by Brant Johnson, an eyewitness to events immediately

       following the shooting.

 75.      Brant Johnson, who lived nearby the scene of the murder, informed an NOPD

       detective that he was inside his house when he heard the gunshots. Johnson then

       walked out onto his front porch, and moments later, observed a Black male carrying a

       sawed off shotgun and hurriedly walking down Adams Street before turning right on

       Spruce Street. Johnson further informed the detective that he “got a good look at the

       suspect’s face and probably could identify him if he saw him again.”

 76.      As detailed above, OPDA was obligated to disclose any information that would

       be favorable or exculpatory in any manner, pursuant to their Brady obligations; and to

       disclose any evidence that would be considered impeachment evidence.

 77.      In the “Joint Agreement and Motion to Vacate Conviction”, a representative of

       OPDA acknowledged that: (1) information “[t]hat one of the perpetrators was fleeing

       on foot contradicts Alfred Moore’s testimony that they got back into a brown station

       wagon and fled the scene” and (2) that Johnson said he could identify the individual

       but was never given the opportunity “impeaches the thoroughness of the State’s

       investigation.”

 78.      At no time prior to, or during trial did OPDA disclose to Dwayne Williams, his

       counsel, or to the jury information regarding Brant Johnson’s statement to detectives.



                                           20
     Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 21 of 41




      79.       During a post-conviction evidentiary hearing, on June 30, 2000, a representative

            from OPDA stipulated that the supplemental reports, which included information on

            Johnson’s statement, were not turned over to the Defense.

      80.       That an eyewitness informed detectives that he saw one of the perpetrators flee

            the scene of the shooting on foot – not in a brown station wagon – constituted

            exculpatory and otherwise favorable information that was material to the Defense. It

            also constituted evidence that would have impeached the testimony of Alfred Moore.

            Additionally, the fact that NOPD never provided Johnson with an opportunity to

            identify the shooter, despite his willingness to do so would have impeached the

            thoroughness of NOPD’s investigation. OPDA was obligated to disclose this

            information to Dwayne Williams and OPDA’s failure to do so undermines confidence

            in the jury’s verdict.

Criminal District Court Vacates Dwayne Williams’s Conviction

      81.       On August 31, 2022, counsel for Dwayne Williams and an OPDA representative,

            filed a “Joint Agreement and Motion to Vacate Conviction,” jointly moving the court

            “to vacate Mr. Williams’ conviction based on significant information discovered

            since trial that was not known to the jury which convicted Mr. Williams and which

            cast doubt on his guilt and on the integrity of the process by which he was convicted.”

      82.       In addition to the above-referenced “favorable information” that was possessed by

            OPDA during the trial but “was not turned over to the defense,” the Joint Agreement

            set forth several stipulations that exculpated Dwayne Williams and undermined the

            validity of his conviction.




                                                21
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 22 of 41




 83.      First, OPDA stipulated that, if called to testify, Sonia Moore – Alfred Moore’s

       sister – would testify that “Alfred Moore has been severely mentally unstable all his

       life,” that he “is not a reliable witness” and that “no one should be in prison based on

       anything my brother said.”

 84.      Additionally, OPDA stipulated that Charles Moore – Alfred Moore’s cousin –

       would testify as follows: that Charles Moore “was out there on the block near where

       Mr. Clark was killed all day on the day of the murder, that he knows for a fact that his

       cousin Alfred Moore was not out there that day, that he saw the 3-4 guys wearing

       masks pull up in the car and he knows that Dwayne Williams was not either out there

       that day or in the car.” Additionally, that “he knows for a fact that Dwayne Williams

       is innocent and that, before his most recent institutionalization for mental illness,

       Alfred Moore told Charles that he wanted to do whatever he could to set right what he

       did to Mr. Williams.”

 85.      OPDA also stipulated that Shirley Williams – Dwayne Williams’s mother –

       would testify that “she was not at home when the murder happened, but she came

       home a little while after it had happened and the neighbors and people in the street

       told her not to go in her yard because some guys had run in the back and left

       something there. None of the people who told her that ‘some guys’ had run in the

       back ever told her it was her son and they all knew Dwayne.”

 86.      OPDA further agreed that “[t]here is no question that the jury which convicted

       Mr. Williams was ignorant of a significant amount of relevant, admissible, evidence

       which either undermined the State’s only eyewitness or tends to suggest Mr. Williams




                                           22
     Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 23 of 41




            was not one of the perpetrators.” OPDA further acknowledged that some of this

            evidence “[w]as withheld” from the Defense before trial.

      87.      On September 1, 2022, an evidentiary hearing was held on the Joint Motion to

            Vacate Conviction in the Orleans Parish Criminal District Court, before the

            Honorable Darryl Derbigny.

      88.      At the hearing, an OPDA representative acknowledged they had “no confidence

            in this first degree murder conviction,” and were “prepared…to file a Joint Motion to

            Vacate [Dwayne Williams’s] conviction.”

      89.      At the end of the hearing, Judge Derbigny granted the Joint Motion and OPDA

            noticed its intent to nolle prosequi the prosecution.

      90.      On September 1, 2022, Dwayne Williams walked out of Angola Penitentiary after

            spending over twenty-six (26) years in prison for a crime he did not commit, solely

            because of OPDA’s violation of his right to material, favorable information.

OPDA’s Longstanding Policy and Custom of Violating the Constitutional Rights of

Defendants by not Disclosing Material, Favorable Information to Them

      91.      OPDA’s repeated violation of Dwayne Williams’s constitutional right to the

            disclosure of favorable evidence was not an isolated event. To the contrary, it was

            part of a longstanding pattern of similar violations by OPDA that started years before

            Dwayne Williams’s trial and continued for many years after.

      92.      OPDA has maintained and carried out an unconstitutional policy, custom, and

            practice of violating the constitutional rights of defendants charged with crimes by

            failing to disclose to them information that is favorable to the defendants.




                                                 23
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 24 of 41




 93.      Under Brady, prosecutors violate a defendant’s constitutional due process rights

       by withholding or failing to disclose evidence that is “favorable to the defense and

       material to the defendant’s guilt or punishment.” Evidence is “material” when there is

       “a reasonable probability that, had the evidence been disclosed to the defense, the

       result of the proceeding would have been different.” The Supreme Court has made

       clear that the Brady obligation includes both impeachment evidence and exculpatory

       evidence. A prosecutor also has an obligation “to learn of any favorable evidence

       known to the others acting on the government’s behalf . . . including the police,” and

       that the materiality inquiry “turns on the cumulative effect of all such evidence

       suppressed by the government.”

 94.      In 2017, the Louisiana Court of Appeal, Fourth Circuit noted “the storied,

       shameful history of the local prosecuting authorities’ noncompliance” with its duty to

       disclose to defendants information that is favorable to them.

 95.      As a result of this unconstitutional policy or custom, OPDA has engaged in the

       wrongful prosecution of innocent persons and, upon information and belief, has failed

       in many such instances to prosecute the real perpetrators.

 Unconstitutional Written Policy

 96.      In 1987 Harry Connick – the then-head of OPDA and its official policymaker –

       officially adopted or promulgated a “Policy Manual” for OPDA. In a letter included

       in the manual Connick stated that “we have developed a policy manual outlining the

       duties and responsibilities of those who work” at OPDA.

 97.      At all times relevant, District Attorney Harry Connick was acting as an

       independent local official policymaker in establishing OPDA’s internal policies and



                                           24
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 25 of 41




       training regarding prosecutors’ acquisition of, security of, and disclosure of Brady

       materials.

 98.      The manual, which upon information and belief, remained in force during the

       period of Dwayne Williams’s trial, included a policy regarding the disclosure of

       favorable information to defendants that provided in pertinent part: “In most cases, in

       response to the request of defense attorneys, the Judge orders the State to produce so-

       called Brady material – that is, information in the possession of the State which is

       exculpatory regarding the defendant.”

 99. Furthermore, Connick previously testified that Brady only requires production of

       evidence that “exculpates the accused,” as opposed to evidence merely “favorable” to

       the defense. And according to Connick, there could be no Brady violation arising out

       of “inadvertent conduct of [an] assistant under pressure with a lot of case load.”

 100.     This policy was insufficient, inaccurate, and a violation of the constitutional

       requirements applicable to OPDA, in that it suggested that OPDA prosecutors were

       obligated to disclose favorable information to a defendant only if the defendant’s

       attorney requested such disclosure when, in truth and in fact, that obligation existed

       regardless of whether or not the defendant’s attorney made such a request.

 101.     This policy was insufficient, inaccurate, and a violation of the constitutional

       requirements applicable to OPDA, in that it suggested that OPDA prosecutors were

       obligated to disclose favorable information to a defendant only if a judge ordered

       them to do so, when, in truth and in fact, that obligation existed regardless of whether

       or not the judge ordered disclosure. Indeed, in a much later argument before the

       United States Supreme Court, the head of OPDA’s Appeals Section conceded that



                                            25
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 26 of 41




    relying upon a judge to determine whether or not OPDA was required to disclose

    information to a defendant pursuant to Brady was a “poor practice.”

 102.   This policy was insufficient, inaccurate, and a violation of the constitutional

    requirements applicable to OPDA, in that it required OPDA prosecutors to disclose

    only “exculpatory” information when, in truth and in fact, OPDA was also required to

    disclose information that could be used to impeach the trial testimony of OPDA

    witnesses or was otherwise favorable to the defendant, even if it did not directly

    exculpate the defendant.

 103.   This policy was insufficient, inaccurate, and a violation of the constitutional

    requirements applicable to OPDA, in that it did not require OPDA prosecutors to

    disclose information that was not initially in OPDA’s possession but was only in the

    possession of the NOPD when, in truth and in fact, OPDA was required to disclose

    such information.

 104.   This policy was insufficient, inaccurate, and a violation of the constitutional

    requirements applicable to OPDA, in that it suggested that OPDA’s obligation to

    disclose favorable information to a defendant charged with a crime applied only in

    most, but not all, cases.

 105.   This policy was insufficient, inaccurate, and a violation of the constitutional

    requirements applicable to OPDA, in that it did not expressly require OPDA

    prosecutors to disclose information that was favorable to the defendant even if that

    information was not documented.

 106.   Additionally, OPDA – under Connick’s leadership – exacerbated the

    unconstitutional policy by imposing severe penalties for ADA’s who provided



                                       26
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 27 of 41




    evidence that did not qualify as Brady information under Connick’s erroneously

    restrictive interpretation.

 Unconstitutional Unwritten Policy or Custom

 107.   OPDA has maintained and carried out, for many years, an unwritten policy or

    custom of not disclosing favorable information to defendants charged with crimes.

 OPDA’s Numerous Brady Violations Indicating an Unwritten Policy or Custom

 108.   The existence of this unwritten policy or custom is supported by publicly

    available information in cases in which a court has determined, or OPDA has

    acknowledged, that OPDA failed to disclose favorable information to a defendant

    charged with a crime. Based solely on that publicly available information, OPDA has

    failed to make such disclosures in at least 46 cases, not including Dwayne Williams’s

    case.

 109.   Of these 46 cases, at least 34 occurred prior to Dwayne Williams’s trial.

 110.   Of these 46 cases, at least 27 involved OPDA’s failure to disclose information

    that could have been used to impeach a witness’s trial testimony – the same type of

    constitutional violation that occurred in Dwayne Williams’s case. Of these 27 cases,

    22 of them occurred prior to Dwayne William’s trial.

 111.   Of these 46 cases, at least nine resulted in reversals of convictions by the United

    States Supreme Court; the United States Court of Appeals for the Fifth Circuit; or the

    Louisiana Supreme Court, the state’s highest court, on the basis of Brady violations

    prior to Dwayne Williams’s trial. See Kyles v. Whitley 514 U.S. 419 (1995); Monroe

    v. Blackburn, 607 F. 2d 148 (1979); Davis v. Heyd, 479 F. 2d 446 (5th Cir. 1973);

    State v. Knapper, 579 So. 2d 956 (La. 1991); State v. Rosiere, 488 So. 2d 965 (La.



                                        27
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 28 of 41




    1986); State v. Perkins, 423 So. 2d 1103 (La. 1982); State v. Curtis, 384 So. 2d 396

    (La. 1980); State v. Falkins, 356 So. 2d 1 (La. 1978); State v. Carney, 334 So. 2d 415

    (La. 1976). Of these nine cases, six involved OPDA’s failure to disclose information

    that was inconsistent with the prosecution’s witness’s trial testimony – the same type

    of constitutional violation that occurred in Dwayne Williams’s case.

 112.   The above-described instances in which OPDA failed to disclose favorable

    information to the defendants it prosecuted significantly understates the actual

    number of times that OPDA has violated the constitutional rights of defendants in this

    way. Unlike other types of constitutional violations, where the defendant is

    presumably well aware of the potential or actual violation – for example, the use of

    excessive force or a violation of the defendant’s right to a speedy trial – a violation of

    a defendant’s right to the disclosure of favorable information is difficult to detect

    because it inherently involves the suppression of information.

 113.   This phenomenon has been widely recognized by leading members of the legal

    profession. For example, United States Supreme Court Justice Ruth Bader Ginsberg

    has stated that Brady violations “are not easily detected” and are frequently the result

    of a “chance discovery.” And former United States Supreme Court Justice Byron

    White has stated that the “judicial process will by definition be ignorant of” a

    violation involving suppressing evidence when it occurs, and that “it is reasonable to

    suspect that most violations never surface.”

 114.   Another reason why the above-described instances in which OPDA failed to

    disclose favorable information to the defendants it prosecuted significantly

    understates the actual number of times that OPDA has violated the constitutional



                                         28
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 29 of 41




    rights of defendants in this way is that, upon information and belief, the vast majority

    of cases filed by OPDA have resulted in a guilty plea and no trial. In these cases, it is

    likely that the pleas occurred prior to the time that the defendants would have

    uncovered any Brady material. In these cases, it is also far less likely that the

    defendants, having entered a guilty plea and having provided a factual predicate for

    their pleas, would pursue a post-conviction challenge to their conviction. Since post-

    conviction litigation is the procedural stage at which many Brady violations are

    uncovered, the substantial prevalence of guilty pleas among OPDA cases

    dramatically reduces the likelihood of Brady violations being detected at anything

    close to the rate at which they actually occur.

 115.   Another reason why the above-described instances in which OPDA failed to

    disclose favorable information to the defendants it prosecuted significantly

    understates the actual number of times that OPDA has violated the constitutional

    rights of defendants in this way is that, upon information and belief, there have been

    cases in which a court determined that OPDA violated Brady but the decision was not

    publicly reported. Connick has testified that this in fact has occurred. In such cases, it

    is difficult if not impossible for persons such as Dwayne Williams to identify the

    cases in which failures to disclose favorable information occurred.

 116.   Another reason why the above-described instances in which OPDA failed to

    disclose favorable information to the defendants it prosecuted significantly

    understates the actual number of times that OPDA has violated the constitutional

    rights of defendants in this way is that, upon information and belief, there have been

    cases with Brady violations in which courts granted relief on other grounds.



                                         29
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 30 of 41




 117.   Another reason why the above-described instances in which OPDA failed to

    disclose favorable information to the defendants it prosecuted significantly

    understates the actual number of times that OPDA has violated the constitutional

    rights of defendants in this way is that many of OPDA’s files from the Connick-era

    have been destroyed by flooding, hurricane, or by court order. A representative from

    OPDA’s Civil Rights Division has acknowledged the practical impossibility of

    assessing the validity of complaints concerning prosecutorial misconduct “if the

    records aren’t there.”

 Additional Court Decisions Establishing OPDA’ s Policy or Custom of Violating Brady

 118.   In addition to the cases described above, in at least four cases that were decided

    prior to Dwayne Williams’s trial, the Louisiana Supreme Court ruled that a

    prosecutor from another Louisiana district attorney’s office failed to disclose

    favorable information to a defendant charged with a crime. These cases provide

    further support for the conclusion that OPDA was well aware of its constitutional

    obligation to disclose favorable information to the defendants it prosecuted, and yet

    repeatedly violated that obligation.

 119.   OPDA’s persistent failure to honor its Brady obligations is remarkable, especially

    in light of the fact that several of the United States Supreme Court’s leading decisions

    in this area of the law involved OPDA itself. For example, as noted above, in April of

    1995 – less than six months before Dwayne Williams’s trial – the United States

    Supreme Court decided Kyles v. Whitley. In that case, the United States Supreme

    Court held that OPDA violated the defendant’s rights under Brady by failing to

    disclose information obtained by OPDA that the defendant could have used to



                                           30
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 31 of 41




    impeach the credibility of eyewitnesses who testified at trial – the same type of Brady

    violation that occurred in Dwayne Williams’s case.

 120.   That OPDA’s violations of defendants’ Brady rights continued even after the

    Kyles decision supports the conclusion that the continued violations were the result of

    OPDA’s unwritten policy or custom of not complying with its Brady obligations.

 121.   OPDA’s description of, and reaction to, the Kyles decision provides further

    support for that conclusion. Connick, the head of OPDA at the time of the decision

    has testified, incorrectly, that Kyles “wasn’t a Brady case.” He also testified that he

    did not recall that the United States Supreme Court ruled in Kyles that the defendant’s

    claim – that OPDA violated its Brady obligations – was valid. He also testified that he

    saw no need to change OPDA’s Brady policy after the Kyles decision. He also

    testified that compliance with the Kyles decision was “not realistic,” stating, “insofar

    as what was in the police file, who the hell knows[.]” And he also has suggested that

    he disagreed with the Kyles decision, stating that “[j]ust because a guy puts on a black

    robe doesn’t mean he is right.” This testimony by the longtime Orleans Parish District

    Attorney, reflects OPDA’s disdain for and disregard of the United States Supreme

    Court’s decision in Kyles and, in turn, OPDA’s obligations under Brady.

 122.   Connick’s disdain for the United States Supreme Court’s decision in Kyles was

    not lost on members of his office. In the re-trial of the defendant in Kyles, the OPDA

    prosecutor stated in court that the Court’s decision in Kyles was wrong.

 123.   Despite OPDA’s string of Brady violations prior to and including Kyles, OPDA

    failed to take adequate measures to prevent future violations. It did not revise its

    written Brady policy. It did not conduct adequate training for OPDA prosecutors on



                                        31
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 32 of 41




    their Brady obligations. And it did not take disciplinary action against OPDA

    prosecutors who violated Brady.

 124.   All of these statements, actions, and failures to act in the wake of Kyles reflect

    OPDA’s disdain and disregard for its obligations under Brady, consistent with its

    unwritten policy or custom of not complying with those obligations.

 Statements by OPDA Heads and Prosecutors Establishing OPDA’s Policy or Custom of

 Violating Brady

 125.   OPDA’s longstanding policy or custom of disregarding its Brady obligations is

    further evidenced by the sworn testimony and admissions of former OPDA

    prosecutors, Connick, and heads of OPDA who succeeded Connick.

 126.   Connick, the head of OPDA at the time of Dwayne Williams’s trial, has testified

    that he was unaware that OPDA’s Brady obligations required it to disclose all

    information favorable to the defendant, and not just information that demonstrated

    that the defendant is not guilty of the crime with which he is charged. This testimony

    reflects both a misunderstanding of OPDA’s Brady obligations as well as the

    inadequacy and unconstitutional nature of OPDA’s Brady policy. As the United

    States Supreme Court has stated, a Brady violation occurs when the prosecution fails

    to disclose favorable information to the defendant, regardless of whether the

    information is directly exculpatory.

 127.   Connick has also testified that a prosecutor’s failure to disclose favorable

    information to a defendant due to the prosecutor being under pressure with a large

    case load would not have constituted a violation of OPDA’s Brady policy. This

    testimony reflects both a misunderstanding of OPDA’s Brady obligations as well as



                                           32
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 33 of 41




    the inadequacy and unconstitutional nature of OPDA’s Brady policy.             A Brady

    violation occurs whenever the prosecution fails to disclose material, favorable

    information to the defendant, regardless of the intent of the prosecutor or the reasons

    for the failure.

 128.   Connick also has testified that his “evaluation” of Brady was “poor.” This

    testimony reflects OPDA’s disdain and disregard for its obligations under Brady,

    consistent with its unwritten policy or custom of not complying with those

    obligations.

 129.   Eddie Jordan, the former head of OPDA, has stated that “the previous

    administration [when Connick was the head of OPDA] had a policy of keeping away

    as much information as possible from the defense attorney.” This statement is

    consistent with OPDA having an unwritten policy or custom of not complying with

    its Brady obligations.

 130.   Cannizzaro, another former head of OPDA. has stated that “[i]n the decades

    preceding my administration, the District Attorney’s office [under Connick] had been

    in a steady state of decline. Over the course of that time period, bad policy decisions

    took root and became institutional.” In an evident reference to OPDA’s repeated

    violations of its Brady obligations, Cannizzaro stated that “some of those policy

    decisions had collateral consequences in the form of civil liability against the office.”

    This statement is consistent with OPDA having an unwritten policy or custom of not

    complying with its Brady obligations.

 131.   OPDA’s unwritten policy or custom of not disclosing favorable information to

    defendants charged with crimes included the post-trial phases of criminal cases. A



                                         33
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 34 of 41




    former OPDA prosecutor has testified that, when a defendant asserted a Brady claim

    after the defendant was convicted, there was no policy requiring the prosecutor to

    obtain and review the trial file or to communicate with the prosecutor who tried the

    case so that OPDA could determine whether the defendant’s claim was valid. This

    statement is consistent with OPDA having an unwritten policy or custom of not

    complying with its Brady obligations.

 Additional Evidence Establishing OPDA’s Policy or Custom of Violating Brady

 132.   Then-Orleans Parish Criminal District Court Judge Calvin Johnson wrote to

    Connick in 1998 to advise him that OPDA prosecutors were failing to comply with

    OPDA’s Brady obligations. Connick ignored the warning and maintained OPDA’s

    policy or custom of disregarding its Brady obligations.

 133.   A 2012 study of OPDA concluded that, despite its lengthy history of repeated

    violations of its Brady obligations, OPDA continued to fail to institute changes to its

    policies and customs sufficient to encourage consistent compliance with Brady. This

    study is consistent with OPDA having an unwritten policy or custom of not

    complying with its Brady obligations.

 134.   A 2012 study of exonerations in the United States from 1989 to 2012 concluded

    that New Orleans (Orleans Parish) had the most exonerations per capita of any county

    with a population over 300,000, at a rate of more than 13 times the national average.

    Nearly all of the exonerations in New Orleans involved Brady violations committed

    by OPDA. This study is consistent with OPDA having an unwritten policy or custom

    of not complying with its Brady obligations.




                                        34
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 35 of 41




 135.   A 2017 study analyzing state appellate court opinions that were issued from 2010

    through 2015 and concern prosecutorial misconduct — including Brady violations —

    found that Orleans Parish had the highest per capita rate of cases involving

    misconduct as well as the largest number of reversals of any parish in Louisiana. In

    reporting these findings, the study stated that OPDA “has long been a hotbed for

    prosecutorial misconduct.” This study is consistent with OPDA having an unwritten

    policy or custom of not complying with its Brady obligations.

 Failure to Train and Supervise

 136.   OPDA’s policy or custom of violating the constitutional rights of defendants

    charged with crimes by failing to disclose to them information favorable to them is

    also demonstrated by its failure to properly and adequately train and supervise OPDA

    prosecutors with respect to their Brady obligations.

 137.   OPDA’s failure to properly and adequately train and supervise OPDA prosecutors

    with respect to their Brady obligations is reflected in many different ways.

 138.   As described in paragraphs 96 through and including 105 above, OPDA’s written

    Brady policy, as reflected in OPDA’s training manual, inaccurately described

    OPDA’s Brady obligations in several different ways.

 139.   Several former OPDA prosecutors have testified that they did not recall receiving

    any training on Brady at OPDA.

 140.   Indeed, following the aforementioned capital case Kyles v. Whitley, 514 U.S. 419

    (1995), in which the Supreme Court reversed based on OPDA’s failure to disclose

    information that could have been used to impeach the credibility of witnesses who




                                         35
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 36 of 41




    testified at trial, Connick stated he was satisfied with OPDA’s policies and practices

    and saw no need for any changes.

 141.   Connick’s failure to institute policy changes or additional training, despite being

    on notice that the existing policies and practices were resulting in the violation of

    defendants’ constitutional rights to receive favorable, material information amounts to

    – at the very least – a deliberate indifference to the defendants’ Brady rights. Connick

    was on notice that, without additional training or policy changes, it was highly

    predictable that OPDA’s prosecutors would continue to make incorrect Brady

    decisions.

 142.   OPDA also failed to utilize checklists, audits, reviews, or coordinators to ensure

    that its prosecutors complied with OPDA’s Brady obligations.

 143.   OPDA also failed to discipline OPDA prosecutors who violated OPDA’s Brady

    obligations.

 144.   For example, Connick has testified that OPDA failed to discipline OPDA

    prosecutors who violated OPDA’s Brady obligations because it would make his job

    more difficult.

 145.   As a result of OPDA’s failure to discipline OPDA prosecutors who violated

    OPDA’s Brady obligations, OPDA prosecutors had little or no reason to be concerned

    about the consequences if they violated those obligations.

 146.   OPDA and the heads of OPDA were aware or should have been aware that OPDA

    prosecutors had repeatedly violated OPDA’s Brady obligations and that there was a

    need to train and supervise prosecutors in order to prevent future, similar violations.




                                        36
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 37 of 41




    OPDA’s failure to train or supervise its prosecutors amounted to deliberate

    indifference to defendants’ constitutional rights under Brady.

                             CAUSES OF ACTION

                  FIRST CAUSE OF ACTION – 42 U.S.C. § 1983
                         (Defendant Jason Williams)

 147.   Paragraphs 1 through and including 146 are repeated and re-alleged as if fully set

    forth herein.

 148.   OPDA, acting under color of law, withheld from Dwayne Williams favorable

    evidence relating to the murder of Laston Clark that was material to Dwayne

    Williams’s guilt or innocence, in violation of Dwayne Williams’s right to due process

    and a fair trial under the Fifth, Sixth, and Fourteenth Amendments to the United

    States Constitution; Articles 1.2, 1.5, and 1.16 of the Louisiana Constitution; and 42

    U.S.C. § 1983.

 149.   At all times relevant to this action, OPDA maintained an unconstitutional written

    policy, officially adopted and promulgated by OPDA and the heads of OPDA, with

    respect to OPDA’s obligation to disclose favorable information to the defendants it

    prosecuted.

 150.   At all times relevant to this action, OPDA failed to provide adequate training or

    supervision of OPDA prosecutors with respect to OPDA’s obligation to disclose

    favorable information to the defendants it prosecuted, despite OPDA’s awareness of

    many prior instances in which it violated Brady — including in its prosecution of

    Curtis Lee Kyles, whose conviction was vacated by the United States Supreme Court

    in Kyles v. Whitley less than six months before Dwayne William’s trial — and despite

    the fact that it was obvious that such training and supervision was required in order to


                                        37
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 38 of 41




    prevent other Brady violations. This failure to train and supervise was sufficiently

    common and well-settled that it constituted a custom that fairly represented OPDA’s

    official policy of not complying with its obligation to disclose favorable information

    to the defendants it prosecuted.

 151.   At all times relevant to this action, OPDA’s persistent and widespread custom,

    reflected in numerous cases, of failing to disclose favorable information to the

    defendants it prosecuted; its failure to adequately train and supervise OPDA

    prosecutors with respect to OPDA’s Brady obligations; and other statements, actions,

    and omissions reflecting OPDA’s failure to comply with or otherwise take seriously

    its Brady obligations, were, when taken as a whole, sufficiently common and well-

    settled that they constituted a custom that fairly represented OPDA’s official policy of

    not complying with its obligation to disclose favorable information to the defendants

    it prosecuted.

 152.   OPDA and the heads of OPDA were on actual or constructive notice that the

    above-described official policies and customs failed to protect the right of Dwayne

    Williams and other defendants like him under the Unites States Constitution to the

    disclosure of favorable information, but were deliberately indifferent to the known

    and/or obvious consequence that constitutional violations would result from these

    official policies and customs.

 153.   The policies and customs set forth above were the moving force that caused the

    deprivation of Dwayne Williams’s right under the United States Constitution to the

    disclosure of favorable information that was material to Dwayne Williams’s guilt or

    innocence.



                                        38
Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 39 of 41




 154.   The conduct set forth above was the cause in fact and proximate cause of Dwayne

    Williams’s injuries and damages, as described in paragraph 6 above.

 155.   Defendant Jason Williams, as the representative of OPDA, is liable to Dwayne

    Williams pursuant to 42 U.S.C. § 1983.

 SECOND CAUSE OF ACTION — LOUISIANA REVISED STATUTE § 22:1269

                    (Defendants ABC Insurance Companies 1–10)

 156.   Paragraphs 1 through and including 146 are repeated and re-alleged as if fully set

    forth herein.

 157.   Defendants ABC Insurance Companies 1–10 may have issued and currently have

    in effect one or more policies of insurance covering Defendant Jason Williams and/or

    OPDA with regard to the actions complained of herein and obligating Defendants

    ABC Insurance Companies 1–10, jointly and/or severally, to pay on behalf of

    Defendant Jasons Williams and/or OPDA any sums the insureds may become

    obligated to pay Dwayne Williams or to indemnify Defendant Jason Williams and/or

    OPDA for any sums the insureds may become obligated to pay Dwayne Williams.

 158.   As described above, Defendant Jason Williams, as the representative of OPDA, is

    liable to Dwayne Williams for all damages sustained by Dwayne Williams, costs and

    reasonable attorney’s fees. Defendants ABC Insurance Companies 1–10 may be

    contractually obligated to pay all sums on behalf of Defendant Jason Williams and/or

    OPDA or to indemnify the insureds for these sums.

 159.   Defendants ABC Insurance Companies 1–10 may be liable to Dwayne Williams

    for any and all sums described above up to their policy limits, notwithstanding the




                                        39
     Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 40 of 41




           fact that Defendant Jason Williams and/or OPDA may themselves be able to assert

           claims of privilege or immunity from liability.

       160.   Pursuant to Louisiana Revised Statute § 22:1269 (B), Dwayne Williams brings a

           direct action against Defendants ABC Insurance Companies 1–10 to recover any and

           all sums they are obligated to pay him on behalf of their insureds or for which they

           are obligated to indemnify their insureds.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Dwayne Williams requests that this Court enter judgment as

follows:

       1. On the First Cause of Action, against Defendant Jason Williams, as the representative

           of the Orleans Parish District Attorney’s Office, compensatory and punitive damages

           in an amount to be determined at trial; costs; and reasonable attorney’s fees pursuant

           to 42 U.S.C. § 1988;

       2. On the Second Cause of Action, against Defendants ABC Insurance Companies 1-10,

           an amount equal to any and all sums they are obligated to pay Dwayne Williams on

           behalf of Defendant Jason Williams and/or the Orleans Parish District Attorney’s

           Office or for which they are obligated to indemnify the insureds; and

       3. On both causes of action, granting Dwayne Williams such other and further relief as

           this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Dwayne Williams demands a trial by jury on both causes of action set forth above.




                                               40
     Case 2:23-cv-01922-LMA-JVM Document 1 Filed 06/07/23 Page 41 of 41




Dated: June 07, 2023

Waiver of Summons                    Respectfully submitted,

                                     /s/ Kelly Patrick Mitchell             _____
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                                     41
